CASENO: 04-0 26:64¢/

 

DATE: 74 42- /9-09

 

 

KENOSHA POLICE DEPARTMENT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CITIZEN COMPLAINT FORM
1. Complainant's Name: bdo) eet e al . le /, Dh 7 C.
: (Last) mo (Middle)
2. ‘Address: i Lig flee og Ai CME es, ft Oily
(Street) : (City)~ (State) (Zip)
3. Phone No.: Sus Y ; OP I LOS 4. Date of Birth: Sa. phe LS
5. Employer: be Md a Cig eh ie “A ZB pe Ao r$!
6. Business Phone No.: f } PED UuNS 7. Work Hours: fe A
8. Complaint Referred To:
9. Incident Date and Time: O23 -16- OF (51% ies _ _
40. Incident Location: SAI 3 heridar £A. { iy! pithy S 2, TALG ST )
11. Name, Badge No. and Rank of Accused Officers), if known, or Description: |
CLE ope TO Kobi Mea) F392
12. Witness to incident: .
(a) Name: ie Pee di L aie [ Kadet ith f
: (Last) oo (First) (Middte)
Address: ee
(Street) (City) (State) (Zip)
Phone No.: Business Phone:

 

 

ACKNOWLEDGEMENT: | acknowledge that | have read the information on the reverse side of this form and
that the information and statement | have provided in regards to my citizen complaint is true and correct.

 

 

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Complainant Signature © "Date Witness Signature Date

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DATE: 42% /9- O9

KENOSHA POLICE DEPARTMENT
CITIZEN COMPLAINT INFORMATION SHEET

 

 

Name: . Ca be be C-

 

(First) (Middle)
Ads . f “ / . -
Address: srt P ear EK, LCC IS
(City) ~ (State) (Zip)
Phone No.:

4. Business PhoneNo: = / ded MeV atta /

 

 

 

Referred To: cto peal

The KENOSHA POLICE DEPARTMENT has a continuing obligation of service to the public. One aspect of this obligation is to

provide all citizens with a readily available process in which they can have confidence that any complaint they have regarding Police
action or inaction will be given fair and swift attention.

Complaint Procedure:

If you wish to make a complaint against an officer of the Kenosha Police Department you should complete and sign a Citizen
Complaint Form. Once the Kenosha Police Department has received the Citizen Complaint Form an investigation will be initiated.

Investigation of a complaint filed on the Citizen Complaint Form will be completed as soon as practicable. However, the resolution of
the complaint will depend on the depth of investigation or availability of involved persons. Upon completion of the investigation the
complainant will be provided a written disposition from the Chief or his designee.

lf the complaint is not resolved to the satisfaction of the complainant, the complainant may either request a meeting with the Chief of
Police to discuss the matter or file a written request for a hearing on the complaint with the Board of Police and Fire Commissioners.
This request must be filed with the Chairperson of the Board of Police and Fire Commissioners within thirty (30) days of receiving
written notification from the Chief regarding disposition of the complaint.

The Board of Police and Fire Commissioners shail review all investigatory reports of the incident and any supporting or conflicting
documentation and in its discretion either schedule a formal hearing before the Board or place the complaint on file.

Board of Police and Fire Commissioners:

Pursuant to Section 62.13(5) of the Wisconsin Statutes you may, as an alternative, file your complaint directly with the Board of Police
and Fire Commissioners,

Unless the complaint is against the Chief, a complaint filed with the Board will be referred to the Chief for informal resolution. If the
complaint is not resolved by the Chief to the satisfaction of the complainant, the complainant may request a formal hearing before the
Board of Police and Fire Commissioners provided that he or she shall file a written request with the Chairperson of the Board within
(30) days of written notification from the Chief regarding his disposition of the complaint.

Filing a complaint on Department's Citizen Complaint Form will be considered as a voluntary waiver by the complainant of his or her
right to file a complaint directly with the Board of Police and Fire Commissioners.

False Complaints:

Wisconsin State Statue 946.66 False Complaints of Police Misconduct, provides for the arrest of any person who knowingly makes a
false complaint regarding the conduct of a !aw enforcement officer. A person violating that statute is subject to a Class “A” forfeiture
(Arrest).

City of Kenosha Municipal Ordinance 11.029 adopts this statute and provides for forfeiture from $407.00 to $653.00.

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False Complaints:

Wisconsin State Statue 946.66 states, “Whoever knowingly makes a FALSE complaint regarding the conduct of a

’ Law Enforcement Officer is subject to a Class “A” forfeiture (Arrest).

This Statute has been adopted by the Kenosha Municipal Ordinance 11.02Q with fines from $407.00 to $653.00.

9/2003

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